                                           Case 12-11567                   Doc 35         Filed 01/04/18         Page 1 of 3
    Fill in this information to identify the case:


Debtor 1 Keith R. Newman

Debtor 2 Lisa O. Newman(Spouse, if filing)

United States Bankruptcy Court for the:                  Middle District of North Carolina Greensboro Division
                                                                 (State)


Case number 12-11567


 

Form 4100R 
Response to Notice of Final Cure Payment 
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

Part 1     Mortgage Information
Name of Creditor: Madison Revolving Trust 2017                                                  Court Claim No. (if known):

                                                                                                5

Last four digits of any number you use to identify the debtor's
account:                                                                                        4386
Property address:              3616 Homeward Trl                                                                                           
                                             Franklinville, NC 27248 
                                              
                                              
                                              
Part 2:                Prepetition Default Payments
Check One:
      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim.
      Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of
       this response is:                                                                                              $________________



Part 3:                  Postpetition Mortgage Payment

Check one:
 Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the Bankruptcy Code, including all
fees, charges, expenses, escrow, and costs.
The next postpetition payment from the debtor(s) is due on: 01/25/2018
 Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
    of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of 01/25/2018 is:


 


                a.       Total postpetition ongoing payments due:                                                                 (a)   $______________

                b.       Total fees, charges, expenses, escrow, and costs outstanding:                                        +   (b)   $______________

                c.       Total. Add lines a and b                                                                                 (c)   $______________



        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became
        due on:         __/__/____

Middle District of North Carolina




Form 4100R                                       Response to Notice of Final Cure Payment                                                      
Debtor 1 Keith R. Newman                         Case 12-11567                     Doc 35      Filed 01/04/18   Page 2 of 3
          ___________________________________
           First Name              Middle Name            Last Name                                             Case number (if known): 12-11567 

 
Part 4               Itemized Payment History

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are not
current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach an
itemized payment history disclosing the following amounts from the date of the bankruptcy filing through the date of this response:
all payments received;
all fees, costs, escrow, and expenses assessed to the mortgage; and
all amounts the creditor contends remain unpaid.




                                                                                                                                     
Part 5:              Sign Here

The person completing this notice must sign it. The response must be filed as a supplement to the creditor's proof of
claim.

Check the appropriate box

    I am the creditor.

    I am the creditor’s authorized agent.


I declare under penalty of perjury that the information in this response is true and correct to the best of my knowledge,
information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address
listed on the proof of claim to which this response applies.


X        /s/Michael Jay Emrey                                                                           Date: January 4, 2018
         Signature
                                                                                                         
 
Print:                  Michael Jay Emrey                                                               Title Attorney
                        First Name                        Middle Name             Last Name
                                                                                                         
Company                 SHAPIRO & INGLE                                                                  
 
If different from the notice address listed on the proof of claim to which this response applies:
 
Address                 10130 Perimeter Parkway, Suite 400                                               
                        Number                   Street
                                                                                                         
                        Charlotte, NC 28216                                                              
                        City                                              State     ZIP Code
                                                                                                         
Contact phone           (704)333-8107                                                                   Email: ncbkmail@shapiro-ingle.com
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                             IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                       GREENSBORO DIVISION
IN RE:
    KEITH R. NEWMAN                                                               12-11567
    LISA O. NEWMAN                                                              CHAPTER 13


                                          CERTIFICATE OF SERVICE

         I hereby certify that I have this day served the foregoing and annexed pleading or paper upon:

                                          (Served via U.S. Mail)
                                  Keith R. Newman and Lisa O. Newman
                                           3616 Homeward Trl
                                         Franklinville, NC 27248

                                 (Served via Electronic Notification Only)
                                           William E. Mathers
                                               135 Worth St
                                           Asheboro, NC 27203

                                 (Served via Electronic Notification Only)
                                         Anita Jo Kinlaw Troxler
                                          500 W. Friendly Ave.
                                              P.O. Box 1720
                                       Greensboro, NC 27402-1720

by depositing the same in a postpaid wrapper properly addressed to each such party or his attorney of record in a
post office or other official depository under the exclusive care and custody of the United States Postal Service
and/or by electronic mail, if applicable.

         This the 4th day of January, 2018.

                                               /s/ Michael Jay Emrey
                                               Michael Jay Emrey, Attorney for Creditor, Bar # 49187
                                               memrey@logs.com |704-831-2315
                                               Shapiro & Ingle, LLP
                                               10130 Perimeter Pkwy, Suite 400
                                               Charlotte, NC 28216
                                               Phone: 704-333-8107 | Fax: 704-333-8156
                                               Supervisory Attorney Contact: Jonathan Davis
                                               jodavis@logs.com | 704-831-2392
                                               Electronic Service Notifications: ncbkmail@shapiro-ingle.com




Form 4100R                        Response to Notice of Final Cure Payment                                           
